             Case 19-17128-amc                       Doc          Filed 02/26/25 Entered 02/26/25 17:03:19                  Desc Main
                                                                  Document      Page 1 of 4
 Fill in this information to identify the case:

  Debtor 1        Jacqueline C Cullison

  Debtor 2

  United States Bankruptcy Court for the: Eastern District of Pennsylvania

  Case number :    19-17128-amc



Form 4100R
Response to Notice of Final Cure Payment                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee's notice of final cure payment.


Part 1:       Mortgage Information




 Name of creditor: NewRez LLC d/b/a Shellpoint Mortgage Servicing                                 Court claim no.                                   16
                                                                                                  (if known):
 Last 4 digits of any number you use to identify the debtor's account: 4848

 Property Address: 35 Inland Road
                   Levittown, PA 19057


Part : 2      Prepetition Default Payments

Check one:
[X] Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor's claim.

 [ ] Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on
        the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of
        this response is:                                                                                                $0.00



Part 3:       Postpetition Mortgage Payment

Check one:
 [ ] Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
         Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          The next postpetition payment from the debtor(s) Is due on:

 [X] Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of
          the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

          Creditor asserts that the total amount remaining unpaid as of the date of this response is:

          a. Total postpetition ongoing payments due:
                                                                                                                           (a) $ 95,459.80
          b. Total fees, charges, expenses, escrow, and costs outstanding:
                                                                                                                          +(b) $ -505.34 suspense
          c. Total. Add lines a and b.

          Creditor asserts that the debtor(s) are contractually                                                            (c) $ 94,954.46
          obligated for the postpetition payment(s) that first became
          due on:                                                              2020-07-01




Form 4100R                                                       Response to Notice of Final Cure Payment                                      page 1
             Case 19-17128-amc                       Doc          Filed 02/26/25 Entered 02/26/25 17:03:19                                Desc Main
                                                                  Document      Page 2 of 4
Debtor 1 Jacqueline C Cullison                                                     Case number (if known)           19-17128-amc
                First Name             Middle Name           Last Name




Part 4:           Itemized Payment History

 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
         •      all payments received;
         •      all fees, costs, escrow, and expenses assessed to the mortgage; and
         •      all amounts the creditor contends remain unpaid.


Part 5:           Sign Here

 The person completing this response must sign it. The response must be filed as a supplement to the creditor's proof
 of claim.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address
listed on the proof of claim to which this response applies.

                                                                                                 02/26/2025
                                                                                                  2/19/25
     /s/ Joshua I. Goldman
                                                                                          Date
    Signature


                              Joshua I. Goldman
Print:                       _____________________________________                                  Title Authorized Agent for Creditor

Company                      Padgett Law Group

If different from the notice address listed on the proof of claim to which this response applies:

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email             plginquiries@padgettlawgroup.com




Form 4100R                                                    Response to Notice of Final Cure Payment                                                page 2
          Case 19-17128-amc                 Doc      Filed 02/26/25 Entered 02/26/25 17:03:19                            Desc Main
                                                     Document      Page 3 of 4
                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                      EASTERN DISTRICT OF PENNSYLVANIA
                                                            PHILADELPHIA DIVISION

In Re;
Jacqueline C Cullison                                                     Case No.: 19-17128-amc


Debtor(s)                                                                 Chapter: 13

                                                           CERTIFICATE OF SERVICE


 I, hereby certify that on 02/26/2025
                           [INSERT DATE], a true and correct copy of the foregoing document was served via United States Mail with adequate prepaid
                                               postage and/or electronically via the Court’s ECF system:


Service by U.S. First Class Mail

Debtor
Jacqueline C Cullison
35 Inland Road
Levittown, PA 19057

By Electronic Mail

Attorney for Debtor
BRAD J. SADEK
Sadek Law Offices, LLC
1500 JFK Boulevard
Ste 220
Philadelphia, PA 19102

Trustee
KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West
Suite 701
Philadelphia, PA 19106

US Trustee
United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107


                                                                          /s/ Joshua I. Goldman

                                                                           Joshua I. Goldman




Form 4100R                                          Response to Notice of Final Cure Payment                                                page 3
              Case 19-17128-amc                                                        Doc                 Filed 02/26/25 Entered 02/26/25 17:03:19                                                 Desc Main
                                                                                                           Document      Page 4 of 4

                                                                              Payment Changes        Eff Date           P&I            Escrow           Other          Total
Debtor                        Cullison                                              POC                12/1/2019    $    962.24    $       623.35                  $    1,585.59
Account #                                                                         Change #1            12/1/2020    $    962.24    $       862.97                  $    1,825.21
Case #                   19-17128-amc                                             Change #2              1/1/2021   $    962.24    $       860.06                  $    1,822.30
Filing Date               11/13/2019                                              Change #3              1/1/2022   $    962.24    $       663.07                  $    1,625.31
First Post Due Date        12/1/2019                                              Change #4              1/1/2023   $    962.24    $       735.89                  $    1,698.13
Post Admin Claim?             No                                                  Change #5              1/1/2024   $    962.24    $       741.04                  $    1,703.28
Post Admin Start                                                                  Change #6              1/1/2025   $    962.24    $       796.96                  $    1,759.20
As of                                                                             Change #7                                                                        $         -
Loan Type                                                                         Change #8                                                                        $         -
Claim #                                                                           Change #9                                                                        $         -
Acquisition date                                                                 Change #10                                                                        $         -
Audit Date                   2/19/2025                                           Change #11                                                                        $         -
                                                                                 Change #12                                                                        $         -
                                                                                 Change #13                                                                        $         -
                                                                                 Change #14                                                                        $         -
                                                                                 Change #15                                                                        $         -
                                                                                 Change #16                                                                        $         -
                                                                                 Change #17                                                                        $         -
                                                                                 Change #18                                                                        $         -


                         Amounts Due                                          Post Funds Received                Difference                                        Payments Due    Pymt Amts Due
                             P&I      Escrow                         Total    Date               Amount
              Dec-19           962.24                    623.35       1585.59        11/25/2019         1,620.00         -34.41                             0.00
               Jan-20          962.24                    623.35       1585.59        01/16/2020           500.00       1085.59                              0.00
              Feb-20           962.24                    623.35       1585.59        01/16/2020           500.00       1085.59                              0.00
              Mar-20           962.24                    623.35       1585.59        01/16/2020           400.00       1185.59                              0.00
              Apr-20           962.24                    623.35       1585.59        01/21/2020           227.00       1358.59                              0.00
              May-20           962.24                    623.35       1585.59        02/24/2020           500.00       1085.59                              0.00
               Jun-20          962.24                    623.35       1585.59        02/24/2020           500.00       1085.59                              0.00
                Jul-20         962.24                    623.35       1585.59        02/24/2020           500.00       1085.59                              0.00        7/1/2020          1585.59
              Aug-20           962.24                    623.35       1585.59        02/24/2020           120.00       1465.59                              0.00        8/1/2020          1585.59
              Sep-20           962.24                    623.35       1585.59        03/24/2020           500.00       1085.59                              0.00        9/1/2020          1585.59
              Oct-20           962.24                    623.35       1585.59        03/24/2020           500.00       1085.59                              0.00       10/1/2020          1585.59
              Nov-20           962.24                    623.35       1585.59        03/24/2020           500.00       1085.59                              0.00       11/1/2020          1585.59
              Dec-20           962.24                    862.97       1825.21        03/24/2020           120.00       1705.21                              0.00       12/1/2020          1825.21
               Jan-21          962.24                    860.06       1822.30        05/14/2020           962.24        860.06                              0.00        1/1/2021          1822.30
              Feb-21           962.24                    860.06       1822.30        05/14/2020           623.35       1198.95                              0.00        2/1/2021          1822.30
              Mar-21           962.24                    860.06       1822.30        05/14/2020            14.41       1807.89                              0.00        3/1/2021          1822.30
              Apr-21           962.24                    860.06       1822.30        01/23/2021           623.35       1198.95                              0.00        4/1/2021          1822.30
              May-21           962.24                    860.06       1822.30        01/23/2021           623.35       1198.95                              0.00        5/1/2021          1822.30
               Jun-21          962.24                    860.06       1822.30        01/23/2021           791.06       1031.24                              0.00        6/1/2021          1822.30
                Jul-21         962.24                    860.06       1822.30        01/23/2021           962.24        860.06                              0.00        7/1/2021          1822.30
              Aug-21           962.24                    860.06       1822.30        04/21/2022           443.67       1378.63                              0.00        8/1/2021          1822.30
              Sep-21           962.24                    860.06       1822.30                                          1822.30                              0.00        9/1/2021          1822.30
              Oct-21           962.24                    860.06       1822.30                                          1822.30                              0.00       10/1/2021          1822.30
              Nov-21           962.24                    860.06       1822.30                                          1822.30                              0.00       11/1/2021          1822.30
              Dec-21           962.24                    860.06       1822.30                                          1822.30                              0.00       12/1/2021          1822.30
               Jan-22          962.24                    663.07       1625.31 credit                       73.80       1551.51                              0.00        1/1/2022          1625.31
              Feb-22           962.24                    663.07       1625.31                                          1625.31                              0.00        2/1/2022          1625.31
              Mar-22           962.24                    663.07       1625.31                                          1625.31                              0.00        3/1/2022          1625.31
              Apr-22           962.24                    663.07       1625.31                                          1625.31                              0.00        4/1/2022          1625.31
              May-22           962.24                    663.07       1625.31                                          1625.31                              0.00        5/1/2022          1625.31
               Jun-22          962.24                    663.07       1625.31                                          1625.31                              0.00        6/1/2022          1625.31
                Jul-22         962.24                    663.07       1625.31                                          1625.31                              0.00        7/1/2022          1625.31
              Aug-22           962.24                    663.07       1625.31                                          1625.31                              0.00        8/1/2022          1625.31
              Sep-22           962.24                    663.07       1625.31                                          1625.31                              0.00        9/1/2022          1625.31
              Oct-22           962.24                    663.07       1625.31                                          1625.31                              0.00       10/1/2022          1625.31
              Nov-22           962.24                    663.07       1625.31                                          1625.31                              0.00       11/1/2022          1625.31
              Dec-22           962.24                    663.07       1625.31                                          1625.31                              0.00       12/1/2022          1625.31
               Jan-23          962.24                    735.89       1698.13                                          1698.13                              0.00        1/1/2023          1698.13
              Feb-23           962.24                    735.89       1698.13                                          1698.13                              0.00        2/1/2023          1698.13
              Mar-23           962.24                    735.89       1698.13                                          1698.13                              0.00        3/1/2023          1698.13
              Apr-23           962.24                    735.89       1698.13                                          1698.13                              0.00        4/1/2023          1698.13
              May-23           962.24                    735.89       1698.13                                          1698.13                              0.00        5/1/2023          1698.13
               Jun-23          962.24                    735.89       1698.13                                          1698.13                              0.00        6/1/2023          1698.13
                Jul-23         962.24                    735.89       1698.13                                          1698.13                              0.00        7/1/2023          1698.13
              Aug-23           962.24                    735.89       1698.13                                          1698.13                              0.00        8/1/2023          1698.13
              Sep-23           962.24                    735.89       1698.13                                          1698.13                              0.00        9/1/2023          1698.13
              Oct-23           962.24                    735.89       1698.13                                          1698.13                              0.00       10/1/2023          1698.13
              Nov-23           962.24                    735.89       1698.13                                          1698.13                              0.00       11/1/2023          1698.13
              Dec-23           962.24                    735.89       1698.13                                          1698.13                              0.00       12/1/2023          1698.13
               Jan-24          962.24                    741.04       1703.28                                          1703.28                              0.00        1/1/2024          1703.28
              Feb-24           962.24                    741.04       1703.28                                          1703.28                              0.00        2/1/2024          1703.28
              Mar-24           962.24                    741.04       1703.28                                          1703.28                              0.00        3/1/2024          1703.28
              Apr-24           962.24                    741.04       1703.28                                          1703.28                              0.00        4/1/2024          1703.28
              May-24           962.24                    741.04       1703.28                                          1703.28                              0.00        5/1/2024          1703.28
               Jun-24          962.24                    741.04       1703.28                                          1703.28                              0.00        6/1/2024          1703.28
                Jul-24         962.24                    741.04       1703.28                                          1703.28                              0.00        7/1/2024          1703.28
              Aug-24           962.24                    741.04       1703.28                                          1703.28                              0.00        8/1/2024          1703.28
              Sep-24           962.24                    741.04       1703.28                                          1703.28                              0.00        9/1/2024          1703.28
               Oct-24             962.24                 741.04        1703.28                                          1703.28                             0.00       10/1/2024          1703.28
               Nov-24             962.24                 741.04        1703.28                                          1703.28                             0.00       11/1/2024          1703.28
               Dec-24             962.24                 741.04        1703.28                                          1703.28                             0.00       12/1/2024          1703.28
               Jan-25             962.24                 796.96        1759.20                                          1759.20                             0.00        1/1/2025          1759.20
               Feb-25             962.24                 796.96        1759.20                                          1759.20                             0.00        2/1/2025          1759.20
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                                                                           0.00                                             0.00                            0.00
                         $    60,621.12    $      45,937.81       $ 106,558.93 Amount Paid       $     11,604.47    $ 94,954.46                     $       -           7/1/2020 $      95,459.80

                                                                           Post Petition Due Date       7/1/2020
                                                                                      Amount Due $     94,954.46
                                                                                 Debtor Suspense $        505.34




OUTSTANDING Costs and FEES
Date               Amount                  Description
